         Case 3:21-cv-00131-CDL Document 1 Filed 11/22/21 Page 1 of 8




                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF GEORGIA
                           ATHENS DIVISION

 ANDREW FROST,                     )
                                   )                 Civil Action
    Plaintiff,                     )                 No.
                                   )
 v.                                )                 JURY TRIAL DEMANDED
                                   )
 ABDOU ENTERPRISES, L.L.C.,        )
                                   )
    Defendant.                     )
 _________________________________ )

                        COMPLAINT FOR DAMAGES

      COMES NOW, Plaintiff, Andrew Frost, by and through undersigned counsel,

and files this Complaint for Damages against Defendant Abdou Enterprises, L.L.C.

(“Defendant”), and states as follows:

                         JURISDICTION AND VENUE

                                          1.

      Plaintiff invokes the jurisdiction of this court pursuant to 28 U.S.C. § 1331

and 42 U.S.C. § 2000e-5(f).

                                          2.

      The unlawful employment practices alleged in this Complaint were

committed within this district. In accordance with 28 U.S.C. § 1391 and 42 U.S.C.

§2000(e)-5(f), venue is appropriate in this Court.




                                          1
         Case 3:21-cv-00131-CDL Document 1 Filed 11/22/21 Page 2 of 8




                                     PARTIES

                                          3.

      Plaintiff is a citizen of the United States of America, and is subject to the

jurisdiction of this Court.

                                          4.

      Defendant is qualified and licensed to do business in Georgia, and at all times

material hereto, has conducted business within this District.

                                          5.

      Defendant may be served with process by delivering a copy of the summons

and complaint to its registered agent, Cindy Abdou, 5052 Audley Lane, Peachtree

Corners, Georgia 30092.


                     ADMINISTRATIVE PREREQUISITES

                                          6.

      Plaintiff timely filed a charge of discrimination against Defendant with the

Equal Employment Opportunity Commission (EEOC) alleging disability

discrimination in violation of the Americans with Disabilities Act (“ADA”). The

EEOC issued a “Notice of Right to Sue” on October 21, 2021, entitling an action to

be commenced within ninety (90) days of receipt of that notice. This action has been

commenced within ninety (90) days of receipt of the “Notice of Right to Sue”.




                                          2
         Case 3:21-cv-00131-CDL Document 1 Filed 11/22/21 Page 3 of 8




                           FACTUAL ALLEGATIONS

                                           7.

      Defendant has now, and at all times relevant hereto, has been an employer

subject to the Americans with Disabilities Act (“ADA”).

                                           8.

      Plaintiff began working for Defendant on March 1, 2021, as a driver.

                                           9.

      Plaintiff suffers from a disability, within the meaning of the ADA, of which

Defendant had actual knowledge. In particular, Plaintiff suffers from diverticulitis.

                                           10.

      On or around July 26, 2021, Plaintiff was suffering from his disability at work.

                                           11.

      Plaintiff’s boss, Joey Abdou, called an ambulance and Plaintiff was

hospitalized for several days due to his disability.

                                           12.

      Or or around July 29, 2021, Plaintiff was released from the hospital.

                                           13.

      On his way home from the hospital, Plaintiff stopped by Defendant’s

restaurant and gave the Assistant Manager, Alex Ankirskiy, a doctor’s note fully

releasing Plaintiff to return to work.



                                           3
         Case 3:21-cv-00131-CDL Document 1 Filed 11/22/21 Page 4 of 8




                                           14.

       On or around July 30, 2021, Plaintiff called Mr. Abdou and asked when he

could return to work. Mr. Abdou responded that he was concerned about Plaintiff’s

health and needed to speak with his lawyer about it.

                                           15.

       Plaintiff then told Mr. Abdou that he was fully released to work by his doctor

and had no issues completing his work. Mr. Abdou acknowledged that he had

received the doctor’s note fully releasing Plaintiff to work, but would not put

Plaintiff back on the schedule.

                                           16.

       On or around August 3, 2021, Mr. Frost’s employment was terminated.

                                           17.

       Plaintiff was and remains able to perform the essential job functions of the job

for which he was hired, with or without a reasonable accommodation.

                                           18.

       Defendant terminated Plaintiff because of his disability or perceived

disability.




                                           19.



                                           4
         Case 3:21-cv-00131-CDL Document 1 Filed 11/22/21 Page 5 of 8




      In terminating Plaintiff’s employment, Defendant discriminated against

Plaintiff because of his disability.

                                           20.

      Plaintiff has suffered lost wages and emotional distress as a direct result of

Defendant’s unlawful actions.

                              CLAIMS FOR RELIEF

      VIOLATION OF THE AMERICANS WITH DISABILITIES ACT
                    (ADA DISCRIMINATION)

                                           21.

      Plaintiff repeats and re-alleges paragraphs 7-20 as if set forth fully herein.

                                           22.

      Section 102 of the ADA protects qualified individuals, including Plaintiff,

from adverse employment actions based on a known disability of the employee.

                                           23.

      At times relevant to this action, Plaintiff was a “qualified individual” as that

term is defined by the ADA.

                                           24.

      At times relevant to this action, Plaintiff has been an individual with a

disability as that term has been defined by the ADA.



                                           25.

                                          5
         Case 3:21-cv-00131-CDL Document 1 Filed 11/22/21 Page 6 of 8




      At times relevant to this action, Defendant and the individual(s) involved in

the decision to terminate Plaintiff were aware of Plaintiff’s disability, including at

the time of Defendant’s termination of Plaintiff.

                                            26.

      Plaintiff’s disability was a determinative factor in Defendant’s decision to

terminate Plaintiff.

                                            27.

       At all times relevant, Plaintiff could perform the essential functions of his

position, with or without a reasonable accommodation.

                                            28.

       Defendant “regarded” Plaintiff as having a “disability” under the ADA.

                                            29.

       In terminating Plaintiff, Defendant discriminated against Plaintiff because of

his disability, thus violating Plaintiff’s rights under the ADA entitling him to all

appropriate relief thereunder.

                                            30.

       As a result of Defendant’s unlawful actions, Plaintiff has suffered emotional

distress and other non-pecuniary damages, as well as economic damages, for which

he is entitled to recover from Defendant.

                                            31.



                                            6
         Case 3:21-cv-00131-CDL Document 1 Filed 11/22/21 Page 7 of 8




      Defendant discriminated against Plaintiff, and in failing and refusing to take

any appropriate remedial action to remedy the unlawful employment practices has

not only deprived Plaintiff of equal employment opportunities, but exhibits malice

or reckless indifference to the federally protected rights of Plaintiff.

                                            32.

      Plaintiff is entitled to compensatory and punitive damages.

      WHEREFORE, Plaintiff requests judgment as follows:

      (a)           General damages for mental and emotional suffering caused by

                    Defendant's misconduct;

      (b)           Punitive damages based on Defendant's willful, malicious,

                    intentional,   and    deliberate   acts,   including   ratification,

                    condonation and approval of said acts;

      (c)           Special damages for lost wages and benefits and prejudgment

                    interest thereon;

      (d)           Reasonable attorney’s fees and expenses of litigation;

      (e)           Trial by jury as to all issues;

      (f)           Prejudgment interest at the rate allowed by law;

      (g)           Declaratory relief to the effect that Defendant has violated

                    Plaintiff’s statutory rights;




                                            7
            Case 3:21-cv-00131-CDL Document 1 Filed 11/22/21 Page 8 of 8




      (h)            Injunctive relief of reinstatement, or front pay in lieu thereof, and

                     prohibiting Defendant from further unlawful conduct of the type

                     described herein; and

      (i)            All other relief to which he may be entitled.


      This 22nd day of November, 2021.



                                         BARRETT & FARAHANY

                                         s/ V. Severin Roberts
                                         V. Severin Roberts
                                         Georgia Bar No. 940504


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